Motion is made to dismiss the appeal from the final judgment of the Appellate Division of the Superior Court in the above entitled cause as not taken within time. The judgment was entered in the office of the Clerk of the Superior Court on October 13, 1948. Notice of appeal therefrom to this court was filed December 3, 1948. Rule 1:2-5 requires such an appeal to be taken within 45 days after the entry of the judgment appealed from. The present appeal is therefore out of time and Rule 1:7-9 provides that the time for taking an appeal may not be extended.
The motion to dismiss the appeal is granted.
For granting motion: Chief Justice VANDERBILT, and Justices CASE, HEHER, OLIPHANT, WACHENFELD, BURLING and ACKERSON — 7.
Opposed: None. *Page 573 